                 Case 3:20-cv-30036-MGM Document 1-6 Filed 03/05/20 Page 1 of 2



AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNtrBn Srarps Drsrrucr CoURT
                                                                 fol the
                                                       District of Massachusetts

MAURA O'NElLL, as administrator of the                             )
Estate of Madelyn E. Linsenmeir,                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                            )
                                                                    )      Civil Action No.
                                                                    )
CITY OF SPRINGFIELD, MOISES
                                                                    )
ZANAZANIAN, REMINGTON MCNABB,
SHEILA RODRIGUEZ, HAMPDEN                                           )
COUNTY SHERIFF,S DEPARTMENT, ANd                                    )
JOHN/JANE DOES       1-s            s                               )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's nane and address)
                                           SHEILA RODRIGUEZ
                                           Springf¡eld Police Department
                                           130 P"earl Street
                                           Springfield, MA 01105



          A lawsuit has been filed against you.

         Within 2l days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                               -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                       -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address         are: Richard J. Rosensweig
                                           Goulston & Storrs PC
                                           400 Atlantic Avenue
                                           Boston, MA 02110


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERKOF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                           PROOF OF SERVICE
                       (This section shoul¡l not be filed wíth the coart unless required by Fed, R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (dare)


           il I personally served the summons on the individual at (place)
                                                                                on (date)                            ;or
           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           il I served the summons on (name of individual)                                                                   , who is
            designated by law to accept service ofprocess on behalfof (name oforganization)
                                                                                on (date)                            ;or

           f, I returned the summons unexecuted because                                                                           ;or

           |1 Other (specify)



           My fees are $                           for travel and $                  for services, for a total of$         O.O0



           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
